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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE              Tel. (513) 564-7000
        Clerk                       CINCINNATI, OHIO 45202-3988            www.ca6.uscourts.gov




                                                 Filed: August 23, 2018




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                      Re: Case No. 18-1429, David Lyons-Bey v. Randee Rewerts
                          Originating Case No. : 5:16-cv-13797

 Dear Mr. Lyons-Bey and Counsel,

    The Court issued the enclosed Order today in this case.

                                                 Sincerely yours,

                                                 s/Jennifer Earl
                                                 Case Manager
                                                 Direct Dial No. 513-564-7066

 cc: Mr. David J. Weaver

 Enclosure
Case 5:16-cv-13797-JCO-DRG
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                                            No. 18-1429

                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                                                                     FILED
                                                                                Aug 23, 2018
 DAVID M. LYONS-BEY,                                      )
                                                                           DEBORAH S. HUNT, Clerk
                                                          )
        Petitioner-Appellant,                             )
                                                          )
 v.                                                       )          ORDER
                                                          )
 RANDEE REWERTS, Warden,                                  )
                                                          )
        Respondent-Appellee.                              )
                                                          )
                                                          )




        David M. Lyons-Bey, a pro se Michigan prisoner, appeals the district court’s judgment
 denying his petition for a writ of habeas corpus filed under 28 U.S.C. § 2254. Lyons-Bey moves
 this court for a certificate of appealability and for leave to proceed in forma pauperis on appeal.
 See Fed. R. App. P. 22(b), 24(a)(5).
        In 2013, a jury in the Macomb County Circuit Court convicted Lyons-Bey and his co-
 defendant Damien Banks of assault with intent to do great bodily harm less than murder,
 conspiracy to commit assault with intent to do great bodily harm less than murder, armed
 robbery, and conspiracy to commit armed robbery, arising from the assault and robbery of Brad
 Bohen in a T.G.I. Friday’s parking lot. The jury acquitted Lyons-Bey and Banks of assault with
 intent to commit murder and conspiracy to commit first-degree murder.             The trial court
 sentenced Lyons-Bey as a second habitual offender to concurrent terms of five to fifteen years
 for the assault convictions and fifteen to forty years for the armed robbery convictions. On
 appeal, the Michigan Court of Appeals affirmed Lyons-Bey’s convictions. People v. Lyons, No.
 319252, 2015 WL 6438128 (Mich. Ct. App. Oct. 22, 2015). The Michigan Supreme Court
 denied Lyons-Bey’s application for leave to appeal but granted his motion to remand for
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 resentencing in light of People v. Lockridge, 870 N.W.2d 502 (Mich. 2015). People v. Lyons,
 879 N.W.2d 871 (Mich. 2016) (mem.). On remand, the trial court declined to resentence Lyons-
 Bey.
         In his amended habeas petition, Lyons-Bey raised the following grounds for relief:
 (1) his trial counsel was ineffective for failing to present an alibi defense; (2) the trial court erred
 in excluding surveillance video of the assault; (3) there was insufficient evidence to support the
 original charges and his ultimate convictions; (4) the state court lacked jurisdiction over his case
 because there was an insufficient showing of probable cause to issue an arrest warrant on the
 armed robbery charges; (5) the trial court erred in giving jury instructions on lesser offenses;
 (6) the prosecutor allowed the victim to give perjured testimony about the surveillance video;
 and (7) his appellate counsel was ineffective for failing to file a motion to remand and for failing
 to file a brief. The district court denied Lyons-Bey’s habeas petition and declined to issue a
 certificate of appealability. This timely appeal followed.
         Lyons-Bey now moves this court for a certificate of appealability as to all issues in his
 habeas petition. See Fed. R. App. P. 22(b). This court will issue a certificate of appealability
 only if the petitioner makes “a substantial showing of the denial of a constitutional right.” 28
 U.S.C. § 2253(c)(2). To satisfy this standard, Lyons-Bey must demonstrate “that jurists of
 reason could disagree with the district court’s resolution of his constitutional claims or that
 jurists could conclude the issues presented are adequate to deserve encouragement to proceed
 further.” Miller-El v. Cockrell, 537 U.S. 322, 327 (2003).
 Ineffective Assistance of Trial Counsel
         Lyons-Bey first claimed that his trial counsel was ineffective for failing to investigate his
 alibi defense, failing to file a notice of alibi, failing to request an alibi instruction, and failing to
 raise the alibi defense in his closing argument. In reviewing Lyons-Bey’s ineffective-assistance
 claim on direct appeal, the Michigan Court of Appeals applied the standard set forth in
 Strickland v. Washington, 466 U.S. 668, 687 (1984): (1) whether counsel’s performance was
 deficient and (2) whether counsel’s performance prejudiced the defense. The Michigan appellate
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 court declined to second-guess counsel’s trial strategy to focus on the victim’s credibility and the
 discrepancy between Lyons-Bey’s actual appearance and the description given by the T.G.I.
 Friday’s employee who interrupted the assault. The Michigan Court of Appeals further noted
 that Lyons-Bey had not presented affidavits from his purported alibi witnesses, failing to
 establish the factual predicate for his claim. Finally, the Michigan appellate court found that
 Lyons-Bey was not prejudiced by the lack of an alibi instruction given that the jury heard Lyons-
 Bey’s own testimony about his alibi and that a person of ordinary intelligence could evaluate his
 testimony without a special instruction.
        Habeas review of Lyons-Bey’s ineffective-assistance claim is “doubly” deferential:
 “[t]he question is whether there is any reasonable argument that counsel satisfied Strickland’s
 deferential standard.”   Harrington v. Richter, 562 U.S. 86, 105 (2011).          Counsel made a
 reasonable strategic decision to focus on a misidentification, rather than an alibi, defense,
 particularly where Lyons-Bey made a statement to police in which he admitted his presence at
 the crime scene, refuting his alibi. See Taylor v. Abramajtys, 20 F. App’x 362, 364 (6th Cir.
 2001). Despite counsel’s purported failures, Lyons-Bey presented his alibi defense through his
 own testimony. Under these circumstances, reasonable jurists could not debate the district
 court’s rejection of Lyons-Bey’s ineffective-assistance claim.
        The arguments raised in Lyons-Bey’s motion do not warrant a certificate of appealability.
 Given that Malaki Greathouse was suspected to be one of the assailants, he likely would have
 invoked his Fifth Amendment privilege against self-incrimination if subpoenaed by counsel.
 Unlike Clinkscale v. Carter, 375 F.3d 430 (6th Cir. 2004), in which the habeas court applied de
 novo review to the petitioner’s ineffective-assistance claim, the district court here was limited to
 the record before the state court, which, as the Michigan Court of Appeals pointed out, was
 lacking factual support for Lyons-Bey’s ineffective-assistance claim. See Cullen v. Pinholster,
 563 U.S. 170, 180-81 (2011).        The officer’s testimony regarding Lyons-Bey’s statement
 admitting his presence at the crime scene was admitted into evidence at trial and was properly
 considered by the district court.
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        Lyons-Bey also asserted that counsel was ineffective for failing to obtain or investigate
 the destruction of two cell phones, which he claimed contained evidence in support of his alibi
 and misidentification defenses. The district court rejected this claim as conclusory and lacking
 evidentiary support. See, e.g., Workman v. Bell, 178 F.3d 759, 771 (6th Cir. 1998). According
 to Lyons-Bey, his affidavit in support of his motion to remand for a Ginther hearing provided
 evidentiary support for this claim. Even with Lyons-Bey’s conclusory affidavit, jurists could not
 conclude that this claim deserves encouragement to proceed further.
 Exclusion of Surveillance Video
        Lyons-Bey next claimed that he was denied due process when the trial court excluded the
 surveillance video from the T.G.I. Friday’s where the assault took place but allowed the victim to
 testify about the contents of the video. After the trial court excluded the surveillance video for
 lack of an adequate foundation, the parties stipulated to the admission of still shots from the
 video. On direct appeal, the Michigan Court of Appeals concluded that Lyons-Bey had waived
 his challenge to the trial court’s evidentiary ruling by stipulating to the admission of the still
 photographs. The district court held that Lyons-Bey was not entitled to habeas relief on this
 claim for three reasons: (1) the authentication requirement did not violate his constitutional right
 to present a defense, (2) his counsel stipulated to the admission of the still photos, and (3) he
 failed to show that the surveillance video contained any exculpatory evidence.
        In his motion for a certificate of appealability, Lyons-Bey argues that the district court
 misconstrued his claim. Lyons-Bey contends that the victim was allowed to testify about the
 contents of the excluded video and that he was precluded from rebutting the victim’s testimony
 with the video in violation of his constitutional rights. Lyons-Bey asserts that a state district
 court judge ruled at a preliminary hearing that Lyons-Bey’s face could not be seen from the
 surveillance video and that the victim therefore committed perjury when he testified that he
 could identify Lyons-Bey’s face from the video. Lyons-Bey misrepresents the record. During
 the preliminary hearing, the state district court judge merely acknowledged that it was difficult to
 make an identification from the video, which was taken from a distance. At trial, prior to the
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 trial court’s ruling on the video, counsel for Lyons-Bey’s co-defendant questioned the victim
 about the video. The victim, who had previously testified that he had identified the defendants
 before he saw the video, testified that he could also identify them from the video: “I could
 identify them because I was there and I know who was standing where.”
        “[T]he Supreme Court has made it perfectly clear that the right to present a ‘complete’
 defense is not an unlimited right to ride roughshod over reasonable evidentiary restrictions.”
 Rockwell v. Yukins, 341 F.3d 507, 512 (6th Cir. 2003). Given that Lyons-Bey had other means
 of challenging the victim’s identification, the trial court’s exclusion of the surveillance video
 under a state evidentiary rule did not deprive him of his right to present a defense. Jurists could
 not conclude that this issue is adequate to deserve encouragement to proceed further.
 Perjured Testimony
        Lyons-Bey relatedly claimed that the victim committed perjury when he testified that he
 could see the assailants’ faces on the surveillance video. According to Lyons-Bey, the judge, the
 police officer, the defense attorneys, and the prosecutor all reviewed the surveillance video and
 agreed that they could not identify anyone from the video.
        To prevail on a perjured testimony claim, a petitioner “must show that the statement in
 question was ‘indisputably false.’” Byrd v. Collins, 209 F.3d 486, 517 (6th Cir. 2000) (quoting
 United States v. Lochmondy, 890 F.2d 817, 823 (6th Cir. 1989)). Lyons-Bey cannot make such a
 showing. When asked if he could see the assailants’ faces in the video, the victim responded, “I
 can identify them. I can see their profile, their demeanor.” Unlike the judge, police officer, and
 attorneys involved in the case, the victim was present during the assault and knew two of his
 assailants previously. As the victim testified, “I could identify them because I was there and I
 know who was standing where.” Accordingly, reasonable jurists could not debate the district
 court’s rejection of Lyons-Bey’s claim that the victim committed perjury.
 Sufficiency of the Evidence
        Lyons-Bey asserted that the prosecution presented insufficient evidence to support the
 original charges and his ultimate convictions. The Michigan Court of Appeals reviewed the
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 sufficiency of the evidence under the standard set forth in Jackson v. Virginia, 443 U.S. 307, 319
 (1979): “whether, after viewing the evidence in the light most favorable to the prosecution, any
 rational trier of fact could have found the essential elements of the crime beyond a reasonable
 doubt.” On habeas review, “a federal court may not overturn a state court decision rejecting a
 sufficiency of the evidence challenge simply because the federal court disagrees with the state
 court” and “instead may do so only if the state court decision was ‘objectively unreasonable.’”
 Cavazos v. Smith, 565 U.S. 1, 2 (2011) (quoting Renico v. Lett, 559 U.S. 766, 773 (2010)).
        According to Lyons-Bey, there was insufficient evidence supporting the original charges
 of assault with intent to commit murder and conspiracy to commit first-degree murder to present
 those charges to the jury. The Michigan Court of Appeals observed that, under state law,
 “[w]here a greater charge is improperly submitted to the jury, but the defendant is acquitted of
 that charge and convicted of a lesser offense that was properly submitted to the jury, the error is
 harmless unless ‘persuasive indicia of jury compromise are present.’”           Lyons, 2015 WL
 6438128, at *4 (quoting People v. Graves, 581 N.W.2d 229, 235 (Mich. 1998)). The state
 appellate court pointed out that Lyons-Bey did not claim jury compromise. The Michigan Court
 of Appeals went on to determine that there was sufficient evidence to present those charges to
 the jury: the evidence showed that the victim identified Banks and Lyons-Bey as his assailants;
 that Banks, using a phone later traced to Lyons-Bey, called the victim twice to lure him to the
 parking lot; and that Banks and Lyons-Bey together attacked the victim, “using a hard blunt
 object to strike him in the skull.” Id. at *5. On habeas review, the district court concluded that
 any error was harmless given that Lyons-Bey was acquitted of these charges. See Daniels v.
 Burke, 83 F.3d 760, 765 n.4 (6th Cir. 1996).
        In his motion for a certificate of appealability, Lyons-Bey argues that the Michigan
 appellate court’s decision is contrary to Jackson because the court required him to establish jury
 compromise. While noting that Lyons-Bey did not claim jury compromise, the Michigan Court
 of Appeals went on to analyze the sufficiency of the evidence supporting these charges under the
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 Jackson standard.      Accordingly, jurists could not conclude that this issue deserves
 encouragement to proceed further.
        Lyons-Bey further argues in his motion for a certificate of appealability that the district
 court did not review his claim that the prosecution failed to establish each essential element of
 the lesser included offense of assault with intent to do great bodily harm less than murder and
 failed to prove that crime under an aiding and abetting theory. Given that the Michigan Court of
 Appeals found sufficient evidence to support the charge of assault with intent to murder, there
 was also sufficient evidence to support Lyons-Bey’s conviction of assault with intent to do great
 bodily harm less than murder. There is no distinction between a principal and an aider and
 abettor under Michigan law. See Mich. Comp. Laws § 767.39. Jurists could not conclude that
 this issue deserves encouragement to proceed further.
        Lyons-Bey also challenged the sufficiency of the evidence supporting his convictions for
 armed robbery and conspiracy to commit armed robbery. The Michigan Court of Appeals held
 that the jury could find that Lyons-Bey conspired to commit and committed armed robbery, and
 the district court determined that the state court reasonably rejected Lyons-Bey’s insufficient
 evidence claim. The victim testified that, earlier that day, Banks heard the victim tell his
 attorney that he had sufficient money to pay a retainer and fees; that the victim had
 approximately $2,500 with him that evening, having cashed a $3,000 check; that Banks called
 the victim twice to arrange a meeting, using a phone later traced to Lyons-Bey; that an assailant
 went through the victim’s pocket during the assault; that the victim might have thrown money on
 the ground in an attempt to stop the beating; and that the victim had $661 after the assault.
 Based on the evidence presented at trial, jurists of reason could not debate the district court’s
 resolution of Lyons-Bey’s insufficient evidence claim.
        In his motion for a certificate of appealability, Lyons-Bey argues that the district court
 improperly relied on the recitation of the evidence by the Michigan Court of Appeals in
 discussing Banks’s insufficient evidence claim.      Banks and Lyons-Bey were tried jointly;
 therefore, the jury heard the same evidence with respect to both defendants.
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 Lack of Probable Cause
        Lyons-Bey claimed that the state court lacked jurisdiction over his case because there
 was an insufficient showing of probable cause to issue an arrest warrant on the armed robbery
 charges. Rejecting this claim, the Michigan Court of Appeals held that the circuit court had
 subject-matter jurisdiction over the charged felony offenses and acquired personal jurisdiction
 over Lyons-Bey when he was bound over for trial after the preliminary examination. The district
 court concluded that Lyons-Bey’s argument, construed as either a state law issue or a Fourth
 Amendment claim, was not cognizable on federal habeas review. See Pulley v. Harris, 465 U.S.
 37, 41 (1984); Stone v. Powell, 428 U.S. 465, 494-95 (1976).
        Lyons-Bey argues that there was no probable cause to issue the arrest warrant because the
 detective who sought the warrant later admitted that he had no direct evidence that Lyons-Bey
 committed armed robbery or conspiracy to commit armed robbery. Sufficient circumstantial
 evidence—the victim identified Lyons-Bey as one of his assailants and was missing a significant
 amount of money after the attack—provided probable cause to issue a warrant. Accordingly,
 jurists could not conclude that this issue deserves encouragement to proceed further.
 Jury Instructions on Lesser Offenses
        Lyons-Bey claimed that the trial court erred in giving jury instructions on the lesser
 offenses of assault with intent to do great bodily harm less than murder and conspiracy to
 commit assault with intent to do great bodily harm less than murder.
        The Michigan Court of Appeals found no error in instructing the jury on assault with
 intent to do great bodily harm less than murder because, under Michigan law, that offense is a
 necessarily included lesser offense of the original charge of assault with intent to commit
 murder. “[A]n instruction on a lesser included offense may be given over the defendant’s
 objection, because the defendant has sufficient notice, when charged with the greater offense,
 that [he] may also have to defend against the lesser charge.” Seymour v. Walker, 224 F.3d 542,
 558 (6th Cir. 2000). Reasonable jurists could not debate the district court’s conclusion that the
 lesser included offense instruction did not violate Lyons-Bey’s due process rights.
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          The Michigan Court of Appeals determined that the instruction on conspiracy to commit
  assault with intent to do great bodily harm less than murder was improper because that offense is
  not a necessarily included lesser offense of the original charge of conspiracy to commit first-
  degree murder. The state appellate court went on to hold that defense counsel waived any claim
  of error by approving the instruction and that Lyons-Bey had not challenged defense counsel’s
  performance in this regard. On habeas review, the district court determined that Lyons-Bey
  could not seek habeas relief for this invited error. See Fields v. Bagley, 275 F.3d 478, 486 (6th
  Cir. 2001). Reasonable jurists could debate whether Lyons-Bey invited the error. Accordingly,
  the court will grant a certificate of appealability as to this claim.
  Ineffective Assistance of Appellate Counsel
          Lyons-Bey claimed that his first appellate counsel was ineffective for failing to file a
  motion to remand for a Ginther hearing. First, the district court determined, appellate counsel’s
  decision to raise an ineffective-assistance claim without requesting an evidentiary hearing “was a
  reasonable recognition that the allegations of ineffective assistance could be determined from the
  trial transcript alone.” Young v. Miller, 883 F.2d 1276, 1280 (6th Cir. 1989). Second, Lyons-
  Bey could not show prejudice because the underlying ineffective-assistance claim regarding the
  alibi defense lacked merit and because he was able to raise his ineffective-assistance claim and
  request for a Ginther hearing in his pro per supplemental brief and motion to remand, which
  were considered and rejected by the Michigan Court of Appeals. For these reasons, reasonable
  jurists could not debate the district court’s rejection of Lyons-Bey’s ineffective-assistance claim.
          Lyons-Bey next claimed that his second appellate counsel was ineffective for failing to
  file a brief. But his first appellate counsel had already filed a brief. Under Michigan Court Rule
  7.212(G), after initial briefing, no additional or supplemental briefs may be filed except by leave
  of the court. Lyons-Bey’s second appellate counsel moved to file a supplemental brief, but the
  Michigan Court of Appeals denied the motion. Jurists of reason could not disagree with the
  district court’s conclusion that Lyons-Bey was not entitled to habeas relief on this claim where
  his second appellate counsel attempted to file a supplemental brief.
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         For these reasons, the court GRANTS Lyons-Bey’s motion for a certificate of
  appealability as to the jury instruction on conspiracy to commit assault with intent to do great
  bodily harm less than murder and directs the clerk’s office to establish a briefing schedule for
  that issue only. Lyons-Bey’s motion for a certificate of appealability is otherwise DENIED.
  Lyons-Bey’s motion for leave to proceed in forma pauperis on appeal is GRANTED.


                                              ENTERED BY ORDER OF THE COURT




                                              Deborah S. Hunt, Clerk
